COLLIN COUNTY NATIONAL BANK, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Collin County Nat'l Bank v. CommissionerDocket No. 19540.United States Board of Tax Appeals14 B.T.A. 1256; 1929 BTA LEXIS 2969; January 14, 1929, Promulgated *2969  The petitioner bank extended a line of credit to a cotton buyer, and as collateral security for advancements made, took warehouse receipts for each bale of cotton purchased.  The bank honored checks drawn by the cotton buyer, for current expenses and purposes other than the purchase of cotton, which amounts were charged to the same account, and all payments made by the buyer, whether proceeds of cotton sales or from other sources, were credited to that account.  At the close of taxable year a large unpaid balance existed, to secure which the bank held warehouse receipts for 1,300 bales of cotton, the then market price of which did not exceed 40 per cent of the balance then due.  Held, petitioner may not now segregate the advances made for personal expenses from those made for cotton purchases, and claim the persona expense items as a deduction for bad debts.  W. R. Abernathy, Esq., and J. M. McMillen, Esq., for the petitioner.  C. H. Curl, Esq., for the respondent.  LOVE *1256  This proceeding results from the determination of a deficiency in income and excess-profits taxes for the year 1920, in the amount of $12,244.01.  The petitioner*2970  asserts error in the respondent's refusal to permit the deduction of an alleged loss.  FINDINGS OF FACT.  The petitioner is a National Bank Corporation chartered under those made for cotton purchases, and claim the personal expense at McKinney, Tex.Effective September 1, 1919, the petitioner entered into a certain oral agreement with Jim P. Dowell, who was engaged individually in a cotton brokerage business at McKinney under the name of "Jim P. Dowell Cotton Company," hereinafter termed the "Company." Under the terms of the agreement mentioned the petitioner was to finance Dowell's cotton purchases by advances to him, provided that simultaneously with each purchase he would execute and deliver to the petitioner a bill of exchange, or an acceptance, in the amount of the purchase price of each lot of cotton, attaching thereto the compress tickets and warehouse receipts as collateral security for each particular purchase.  From September 1, 1919, to December 27, 1920, Dowell purchased quantities of cotton, executed the necessary papers, attached thereto *1257  the appropriate tickets and receipts and was advanced funds in accordance with the petitioner's agreement with*2971  him.  When a sale of cotton was arranged the petitioner delivered the tickets and receipts to Dowell for transmission to the purchasers, and Dowell would deposit the funds acquired from such sales with the petitioner for credit against the Company's account.  During the period from September 1, 1919, to December 27,1920, the petitioner advanced to Dowell, in addition to advancements for cotton purchases, the sums of $54,452.94 and $11,139.28.  The sum first mentioned is alleged to have been advanced for payment of operating expenses of the Company.  Shortly after the making of the agreement above described, Dowell commenced to draw checks upon the petitioner for his personal living expenses.  The sum last mentioned is represented as the amount of such checks to December 27, 1920.  The original agreement between Dowell and the petitioner related solely to the advancement of funds for the purchase of cotton.  The petitioner, however, honored Dowell's checks for operating expenses of the business, and for defrayment of his personal expenses.  The petitioner maintained but one account for Dowell, carrying into it all advancements made to him for any purpose.  The only exception*2972  to the above relates to a checking account of four or five hundred dollars which Dowell was maintaining when the agreement was made and which he checked out for personal expenses shortly thereafter.  In September, 1919, cotton was selling for about 42 cents per pound, but at December, 1920, it had declined to about 10 cents per pound.  When Dowell commenced his brokerage operations under his agreement with the petitioner profits were realized on some transactions and were credited to his account.  The amounts of such profits do not appear.  October 5, 1920, the petitioner charged off as a loss on Dowell's account the sum of $30,000.  December 27, 1920, the petitioner advised Dowell that it would no longer finance his cotton purchases.  December 31, 1920, the sum of $56,859.26 was charged off as a loss on Dowell's account.  The balance remaining due on the account after the charge-offs above described was $138,579.11.  The collateral held by the petitioner at December 31, 1920, consisted of tickets or warehouse receipts for 1,300 bales of cotton, averaging 500 pounds per bale, and having a market value of about 10 cents per pound.  The total value of this cotton was approximately*2973  $65,000.  Dowell was at that time insolvent and owned no property.  Prior thereto he had sold his equity in certain property and applied the proceeds of approximately $8,000 to his account with the petitioner.  *1258  The charge-offs of October 5, and December 27, 1920, totaling $86,859.26, were not made specifically as charge-offs of the deductions herein claimed, but were intended merely to reduce as far as petitioner's financial condition would warrant, the total of Dowell's account.  OPINION.  LOVE: In its income-tax return for the year 1920, the petitioner claimed a deduction, as a bad debt, of $86,859.26, the entire amount charged off Dowell's account in that year.  The respondent disallowed the deduction mentioned because under section 234(a) of the Revenue Act of 1918, part of a debt may not be written off as worthless and be deducted from income.  , and , (U.S.D.C., 8th Circ.) decided October 13, 1928.  The petitioner now contends that Dowell's account may be separated into two, i.e., (1) a cotton acceptance account*2974  for which it held collateral, and which admittedly is not deductible for the year 1920, because it was neither ascertained to be worthless nor charged off in that year, and (2) an account of advances to Dowell for business and personal expenses.  It is asserted that as so segregated the advancements to Dowell for business and personal expenses constituted a debt actually ascertained to be worthless and charged off during 1920, and that it is entitled to a deduction thereof.  The petitioner's position is predicated upon the theory that under its agreement with Dowell the collateral held by it was held for a specific purpose, i.e., solely for application to the cotton acceptances and that such security must be applied exclusively for that purpose.  In this connection petitioner invokes the rule that where collateral is given a banker for a specific purpose, he has no lien upon it for any other purpose and can not assert one for any other indebtedness whether arising upon general account or otherwise.  ; *2975 ; ; and Morse on Banks &amp; Banking, 6th Ed., sec. 325. While the rule invoked does obtain, it is applied in cases involving the rights of third parties, and where a lien, as such, is asserted on the one hand, and denied on the other.  In such cases, the right of "set-off" as between the parties, themselves, is not involved.  (See R.C.L., vol. 3, par. 217.) It will not be questioned that by express agreement between the parties, a deposit may be applied to an unsecured claim, while the same deposit would have to be applied to the secured claim if so directed by the depositor at the time the deposit is made.  In the *1259  instant case, it is conceded that there was only one account on petitioner's books with Dowell during the taxable year.  All moneys drawn by Dowell, regardless of the purposes for which drawn, were charged to that account.  That condition existed by virtue of the action of the bank, on the one hand, and acquiescence, if not by express agreement, on the part of Dowell.  All collateral held by petitioner belonging to Dowell, as between*2976  themselves especially, constituted security for the full amount of the balance in that account at all times.  (See R.C.L., vol. 3, par. 146.) The advances made by petitioner to Dowell other than for payment for cotton purchased by him, and for which cotton warehouse receipts were held, amounted to $65,592.22.  The charge-off made in October and December, respectively, aggregated $86,859.26, leaving a balance in that account of $138,579.11.  To secure the payment of which amount, petitioner held warehouse receipts for 1,300 bales of cotton, the then market value of which was approximately $65,000.  It will be noted that petitioner kept but one account against Dowell.  There was no segregation of charges for the purchase of cotton, and charges for other purposes.  The charge-offs were not made specifically as against any items in the account and the amount of the charge-offs was materially different from the amount of the charges in that account for items other than for the purchase of cotton.  Petitioner contends that it now has the right to segregate the strictly cotton purchase items, and the other items, and apply the charge-offs to those other items to the extent thereof, *2977  to wit, $65,592.22.  Under the Revenue Act of 1918, which controls this case, a partial write-off is not permissible.  The account at the end of the taxable year was not closed, by reason of the fact that petitioner held 1,300 bales of cotton as collateral security for the balance due thereon; hence, no deduction is permissible under the statute.  The action of the Commissioner is approved.  Judgment will be entered for the respondent.